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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1269V
                                        (not to be published)


    RICHARD WEATHERLY,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: August 17, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Anne Carrion Toale, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On August 22, 2018, Richard Weatherly (“Petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that he suffered a shoulder
injury related to vaccine administration as a result of his October 17, 2016 influenza
vaccination. (Petition at 1). On June 18, 2020, a decision was issued awarding
compensation to Petitioner based on the parties’ stipulation. (ECF No. 43).



1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated July 2, 2020,
(ECF No. 47), requesting a total award of $38,213.15 (representing $37,212.70 in fees
and $1,000.45 in costs). Pursuant to General Order #9, Petitioner filed a signed statement
indicating that he incurred no out-of-pocket expenses. (ECF No. 47-3). Respondent
reacted to the motion on July 17, 2020, indicating that he is satisfied that the statutory
requirements for an award of attorney’s fees and costs are met in this case and defers to
the Court’s discretion to determine the amount to be awarded. (ECF No. 48). On July 20,
2020, Petitioner filed a reply requesting that the court award Petitioner all fees and costs
requested in Petitioner’s application. (ECF No. 49).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $38,213.15 (representing $37,212.70 in fees and $1,000.45 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel 3.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                               s/Brian H. Corcoran
                                                               Brian H. Corcoran
                                                               Chief Special Master




3
 Petitioner requests checks be forwarded to Maglio Christopher & Toale, PA, 1605 Main Street, Suite 710, Sarasota
Florida, 34236.
4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing their
right to seek review.
                                                         2
